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                     IN THE DISTRICT COURT OF THE UNITED STATES
                         FOR THE MIDDLE DISTRICT OF ALABAMA
                                  NORTHERN DIVISION

TRACY L. LINDSEY, #189896,                             )
                                                       )
              Plaintiff,                               )
                                                       )
      v.                                               )    CIVIL ACTION NO. 2:20-cv-977-ECM
                                                       )
MOBILE COUNTY CIRCUIT                                  )
COURT, et al.,                                         )
                                                       )
              Defendants.                              )

                                                 ORDER

           On December 4, 2020, the Magistrate Judge entered a Recommendation (doc. 3)

    to which no timely objections have been filed. After an independent review of the file

    and upon consideration of the Recommendation, it is

           ORDERED that the Recommendation of the Magistrate Judge is ADOPTED,

    and this case is TRANSFERRED to the United States District Court for the Southern

    District of Alabama pursuant to 28 U.S.C. § 1406(a).1

           Done this 11th day of January, 2021.

                                                 /s/ Emily C. Marks
                                           EMILY C. MARKS
                                           CHIEF UNITED STATES DISTRICT JUDGE




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    All pending motions are transferred to the Southern District of Alabama for resolution.
